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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :
                                              :
                                              :
                v.                            :      CRIMINAL NO. 18-193-2
                                              :
                                              :
KRISTIAN JONES                                :



   DEFENDANT’S RESPONSE IN OPPOSITION TO CO-DEFENDANT BRIDGES’S
                    REQUEST FOR CONTINUANCE


       Defendant Kristian Jones, by and through his attorney, Leigh M. Skipper, Chief Federal

Defender, Federal Community Defender Office for the Eastern District of Pennsylvania,

respectfully submits this Response in Opposition to co-Defendant Bridges’s request for a trial

continuance. In support of this response, the defense avers that:

       1.       Jury selection in this matter is currently scheduled to be held on November 21,

2018, and trial is scheduled to commence on November 26, 2018.

       2.       Andrew Montroy, Esquire, counsel for co-defendant Dkyle Jamal Bridges, has

moved for a continuance of the trial.

       3.       Mr. Jones has repeatedly voiced his objection to another trial continuance.

       Accordingly, counsel for Mr. Jones respectfully moves this Honorable Court to deny co-

counsel’s request for a continuance.

                                              Respectfully submitted,



                                              /s/ Leigh M. Skipper
                                              LEIGH M. SKIPPER
                                              Chief Federal Defender
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                                CERTIFICATE OF SERVICE


       I, Leigh M. Skipper, Chief Federal Defender, Federal Community Defender Office for

the Eastern District of Pennsylvania, hereby certify that I filed and served a copy of Defendant’s

Response in Opposition to Co-Defendant Bridges’s Request for Continuance upon Seth M.

Schlessinger, Assistant United States Attorney, United States Attorney’s Office, Suite 1250, 615

Chestnut Street, Philadelphia, Pennsylvania 19106, and Jessica L. Urban, Esquire, Trial

Attorney, United States Department of Justice, Criminal Division, 1400 New York Avenue,

N.W., Washington, D.C. 20005, and upon Andrew Montroy, Esquire, 1500 Walnut Street, 22nd

Floor, Philadelphia, Pennsylvania 19102.



                                             /s/ Leigh M. Skipper
                                             LEIGH M. SKIPPER
                                             Chief Federal Defender

DATE: November 2, 2018
